  From:    Dan White dwhite@symmetryinc.com
Subject:   Re: Romspen
   Date:   October 19, 2019 at 3:56 PM
     To:   Adam Zarafshani adam@panache-usa.com
    Cc:    Roderick Payne rodp@hplegal.ca

       I’m not angry at all Adam I’m extremely happy. Please do not talk to these criminals and if you get any correspondence forwarded
       to me please send them an email saying that we do not want to talk .if you want to negotiate or communicate do it in writing

       Sent from my iPhone

           On 19/10/2019, at 5:40 PM, Adam Zarafshani <adam@panache-usa.com> wrote:



           Dan,

           I am going for a long walk around Town Lake. Niki is turning 18 today so we have
           activities tonight.

           In terms of what you asked me to do a short while ago, I cannot not tell you what
           they communicate to me. Even though it is a moving target, and what they are
           doing goes beyond fraud, it is financial terrorism. What they are proposing orally
           is that basically that:
           1- They will take over the property.
           2- They would leave me in and
           3- If I stabilize the property, get it to completion, they will not take any action
           against the assets in Edmonton.

           That is the summary of the BS that they are proposing. That means the $3.2
           million I put in evaporates and pretty much all the other money I have put in will
           evaporate and handed to them on a silver platter.

           I understand that you are rightfully angry and that this is driving a stake through
           both of our hearts. You and I cannot talk about the fraud that they have
           committed. That is a known fact. Can we get them? Yes, we can. It will take
           money to do it and my first stress right now is money. If you can raise some cash
           this week, I will unleash everything at my disposal towards them. Also remember,
           I am fine with doing that but we will not have a project. We will have a lawsuit for
           a year and a half. I will go to the end of the world with you. But, as I sent you the
           letter from the lawyers, we do not have any soldiers nor any ammunition.

           Regards,



           Adam Zarafshani
           Austin Viie
           Panache Development & Construction, Inc.
           512 345 7000 Austin
           872 222 7031 Chicago
           310 929 0094 LA
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